                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                     AT CHATTANOOGA

    UNITED STATES OF AMERICA

         v.                                                            No.: 1:18-cr-11

    JERRY WAYNE WILKERSON, MICHAEL                                      Judge Mattice
    CHATFIELD, KASEY NICHOLSON,
    BILLY HINDMON, and JAYSON
    MONTGOMERY

          Defendants.



         DEFENDANTS’ NOTICE OF FILING TRIAL EXHIBITS TO FACILITATE
        APPELLATE REVIEW AND COMPLY WITH SIXTH CIRCUIT RULE 28(a)(1)

          Defendants Jerry Wayne Wilkerson, Michael Chatfield, Kasey Nicholson, Billy

   Hindmon, and Jayson Montgomery file the following exhibits, which were admitted during trial,

   so that they will be electronically accessible to the Sixth Circuit Court of Appeals and so that

   they will bear the PageID# references, as required by Sixth Circuit Rule 28(a)(1). I certify that

   the attached exhibits are true and accurate copies of those admitted at trial.

        EXHIBIT                                         DESCRIPTION
    Hindmon Ex. #4         List of ingredients in most commonly-prescribed creams
    Chatfield Ex. #13      Pharmacy Benefit Manual
    Wilkerson Ex. #106     Independent Consultant Agreement
    Gov. Ex. #123          Compound cream order form
    Gov. Ex. #213          Marketing materials
    Gov. Ex. #234-237      Pharmacy contracts with Top Tier
    Gov. Ex. #515, 528     Text messages and emails involving Green
    Gov. Ex. #716          Summary Chart
    Gov. Ex. #2613         Email re Top Tier Sales Process Information
    Gov. Ex. #2614         Email re Consent Form
    Gov. Ex. #2616         Evaluation Form




                                                     1

Case 1:18-cr-00011-HSM-CHS Document 576 Filed 03/29/21 Page 1 of 2 PageID #: 11967
    Dated: March 29, 2021                                   Respectfully submitted,

                                                      By:
                                                            Mark S. Thomas
                                                            Florida Bar No. 0001716
                                                            Thomas Health Law Group, PA
                                                            5200 SW 91st Terrace, Suite 101-B
                                                            Gainesville, FL 32608
                                                            352-372-9990 (telephone)
                                                            855-629-7101 (electronic facsimile)
                                                            Mark@ThomasHLG.com
                                                            Counsel for Defendant Jerry Wayne
                                                            Wilkerson


                                       CERTIFICATE OF SERVICE

           This notice and attached exhibits were filed electronically on May 29, 2021, and notice of

   this filing will be sent by operation of the Court’s electronic filing system to all parties indicated

   on the electronic filing receipt.




                                                             Mark S. Thomas




                                                      2

Case 1:18-cr-00011-HSM-CHS Document 576 Filed 03/29/21 Page 2 of 2 PageID #: 11968
